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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE APPLE iPHONE ANTITRUST                      Case No. 11-cv-06714-YGR (TSH)
                                         LITIGATION
                                   8
                                                                                           ORDER RE: MOTIONS TO SEAL
                                   9
                                                                                           Re: Dkt. No. 394
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                                  12     DONALD R. CAMERON, et al.,                        Case No. 19-cv-03074-YGR (TSH)
Northern District of California
 United States District Court




                                  13                    Plaintiffs,

                                  14             v.                                        Re: Dkt. No. 223, 266
                                  15     APPLE INC.,
                                  16                    Defendant.

                                  17     EPIC GAMES, INC.,                                 Case No. 20-cv-05640-YGR (TSH)
                                  18                  Plaintiff and Counter-defendant,
                                  19             v.                                        Re: Dkt. No. 294
                                  20     APPLE INC.,
                                  21                  Defendant and Counterclaimant.
                                  22

                                  23          The Court’s January 26, 2021 order concerning the motions to seal denied some of Apple’s
                                  24   motions to seal in part without prejudice to Apple filing a narrowly tailored motion. Apple’s
                                  25   deadline to file those narrowly tailored motions is February 5, 2021. If Apple does not file

                                  26   narrowly tailored motions to seal by that deadline, the Court’s denial in part of Apple’s motions to

                                  27   seal will become with prejudice.

                                  28          Separately, the motions to seal at 11-6714 ECF No. 394, 19-3074 ECF No. 266, and 20-
                                         Case 4:20-cv-05640-YGR Document 309 Filed 02/02/21 Page 2 of 2




                                   1   5640 ECF No. 294 are granted. Because the Court has already filed in the public record the

                                   2   redacted version of the Court’s order, no further action on these motions to seal is necessary.

                                   3          In 19-3074, Apple’s motion to seal at ECF No. 223 is denied without prejudice for lack of

                                   4   narrow tailoring. Apple may file a narrowly tailored motion to seal by February 9, 2021.

                                   5          IT IS SO ORDERED.

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                                   7   Dated: February 2, 2021

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                                                                                                    THOMAS S. HIXSON
                                   9                                                                United States Magistrate Judge
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Northern District of California
 United States District Court




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